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         EXHIBIT 7
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                                  15475
                                                                   Case 3:17-cv-00072-NKM-JCH Document 899-7 Filed 10/29/20 Page 3 of 11 Pageid#:
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Date Sent:   Last Updated: 10/12/2020




                                                                                  Account User Name              Date Device/Account                                                                                                                                                                                                                   Search Term Hits
   iDS EID          Defendant           Requested Device/Account                                                                                                     Collection Status                                                                      iDS Status                                          Date Collected   File Count                                         Collection Size (GB)                 Date Range
                                                                                      if Multiple                  Made Available                                                                                                                                                                                                                     including Family

    A0023         Cantwell_Chris               Cell phone                                                             3/6/2019         Collection Completed - no documents hit upon the search terms                iDS Has Completed Collection - no documents hit upon the search terms                        3/8/2019                    11                                 -                           0.00   02/11/2005 -10/24/2018
    A0006         Cantwell_Chris                Discord                          Charlottesville2.0 server           2/25/2019         Collection Completed                                                         Ready for counsel's review                                                                  11/18/2019                   57                                34                           0.00   06/19/2017 - 03/26/2018
    A0001         Cantwell_Chris                 Email                      christopher.cantwell@gmail.com           2/25/2019         Collection Completed                                                         Additional Documents Produced_20200413                                                       3/1/2019               363,606                           103,740                          20.24     1/1/2000 - 3/2/2019
     TBD          Cantwell_Chris               Facebook                              voteforcantwell                 2/25/2019         iDS Cannot Proceed Further - No Account Found                                iDS Cannot Proceed Further - Account does not exist                                            TBD
                                                                                                                                       iDS attempted to login and was unable to.                                    iDS Cannot Proceed Further - Received an error that the credentials provided do not
    A0005         Cantwell_Chris                 Gab.ai                                Cantwell                      2/25/2019         iDS made most recent attempt to access on 11/18/2019.                        match. Counsel should consider contacting the platform.                                          NA
                                                                                                                                       Account unavailable; Defendant cannot access due to change in interface. iDS
                                                                                                                                       also tried to access account and was unable to.                              iDS Cannot Proceed Further - Invalid email address or password. Counsel should consider
    A0076         Cantwell_Chris                ustream                              Renegade631                     2/25/2019         iDS made most recent attempt to access on 11/18/2019.                        contacting the platform.                                                                         NA
                                                                                                                                                                                                                    Defendant stated that website will be imaged and sent to iDS. iDS has not received the
                                                                                                                                                                                                                    image. iDS has completed alternative collection method. Data sets contains video data.
    A0069         Cantwell_Chris                Website                        christophercantwell.com               4/23/2019         Collection Completed                                                         iDS is determining optimal method for staging and subsequent review.                         11/8/2019
                                                                                                                                                                                                                    Defendant stated that website will be imaged and sent to iDS. iDS has not received the
    A0070        Cantwell_Chris                 Website                            radicalagenda.com                 4/23/2019         Collection In Progress                                                       image. iDS has begun collecting using alternative collection methods.                           TBD
     TBD         Cantwell_Chris                 Youtube                     christopher.cantwell@gmail.com           2/25/2019         iDS Cannot Proceed Further - Password does not work.                         iDS is unable to collect with provided credentials                                              TBD
    A0016        Damigo_Nathan                 Cell phone                                                             3/4/2019         Collection Completed                                                         Additional Documents Produced_20200413                                                        3/5/2019               21,668                            15,890                           0.68   04/29/2017 - 03/04/2019
     TBD         Damigo_Nathan                  Discord                     Fashy Haircut or Nathan Damigo                             Account Reported Disabled; Defendant does not remember credentials           iDS Cannot Proceed Further - Defense counsel coordinating with the platform.
    A0002        Damigo_Nathan                    Email                     nathan.dmaigo.nyf@gmail.com              2/25/2019         Collection Completed                                                         Additional Documents Produced_20200413                                                        3/5/2019               43,801                            20,803                           6.14   11/30/2014 - 03/14/2019
     TBD         Damigo_Nathan                 Facebook                             Nathan Damigo                        NA            Account Reported Disabled; Defendant does not remember credentials           iDS Cannot Proceed Further - Defense counsel coordinating with the platform.
    A0015        Damigo_Nathan                   Laptop                                                               3/5/2019         Collection Completed                                                         Additional Documents Produced_20200413                                                        3/7/2019               34,782                             7,462                           2.27   04/15/1999 - 02/28/2019
     TBD         Damigo_Nathan                   Skype                          skatenate@pacbell.net                12/2/2019         iDS Cannot Proceed Further - Password does not work.                         iDS is unable to collect with provided credentials
                                                                                                                                       Collection provided to iDS by Defendant
    S0002        Damigo_Nathan                  Twitter                            @NathanDamigo                     3/12/2019         Collection completed                                                         Documents Produced                                                                                                   10,500                             4,014                           0.80            N/A
                                                                                                                                       Collection provided to iDS by Defendant
    S0003        Damigo_Nathan                   Slack                                                              11/15/2019         Collection completed                                                         Documents Produced                                                                                                           8                              7                           0.00   08/15/2017 - 08/29/2017
                                                                                                                                       Collection Completed - Collection provided to iDS by Defenant (Defense
                                                                                                                                       counsel coordinated with the email hosting platform
    S0004        Damigo_Nathan                   Email                    Nathan.damigo@identityevropa.com          11/15/2019         https://www.bluehost.com/)                                                   Ready for counsel's review                                                                                                  52                            52                            0.01   09/24/2016 - 09/30/2016
                                                                                                                                       Collection provided to iDS by Defendant
    S0005        Damigo_Nathan                 YouTube                              Nathan Damigo                   11/15/2019         Collection completed                                                         Collection did not contain any videos
                                                                                                                                                                                                                    iDS Cannot Proceed Further
    A0060      Heimbach_Matthew                Cell phone                             Android                        7/10/2019         Collection Completed                                                         iDS attempted to collect. Collection set contains no data.                                    8/8/2019
     TBD       Heimbach_Matthew                  Discord                         Matthew Heimbach                    7/10/2019         Account Reported Deleted; Password Not Provided                              iDS Cannot Proceed Further - No Account Found
     TBD       Heimbach_Matthew                  Gab.ai                         Matthew W. Heimbach                  7/10/2019         Defendant notified that all account data has been lost                       iDS Cannot Proceed Further - Email Account & Password Not Provided
    A0061      Heimbach_Matthew                   Gmail                         Matthew.W.Heimbach                   7/10/2019         Collection Completed                                                         Documents Produced                                                                           8/15/2019               25,115                            10,189                           3.10   04/30/2013 - 07/26/2019
    A0090      Heimbach_Matthew             Google Hangouts                Matthew.W.Heimbach@gmail.com              2/18/2020         Collection Completed                                                         Documents Produced                                                                           2/27/2020                   12                                 5                           0.00            N/A
    A0089      Heimbach_Matthew               GoogleDrive                                                            2/18/2020         Collection Completed                                                         Documents Produced                                                                           2/27/2020                  555                               440                           1.19   06/15/2013 - 03/14/2015
                                              GoogleDrive
    A0098      Heimbach_Matthew         Supplemental collection                                                      4/13/2020         Collection Completed                                                         Documents Produced                                                                           4/20/2020                     158                           122                            0.25   3/14/2012 - 04/13/2020
     TBD       Heimbach_Matthew          Internet Ticket System              Matthew Heimbach (illegible)            7/10/2019         Defendant does not remember credentials                                      iDS Cannot Proceed Further - Email Account & Password Not Provided
    A0097      Heimbach_Matthew              Signal account                   Associated phone number                7/10/2019         Collection Completed                                                         Documents Produced                                                                            3/5/2020                     715                           202                            1.99            N/A
    A0096      Heimbach_Matthew                   Skype                          Traditionalist.Youth                7/10/2019         Collection Completed                                                         Documents Produced                                                                            3/5/2020                      16                             9                            1.42            N/A
                                                                                                                                                                                                                                                                                                                Collected by
    A0101      Heimbach_Matthew                  Twitter                         Matthew Heimbach                    7/10/2019         Collection   Completed                                                       Documents Produced                                                                            Platform                    3,032                         2,995                           0.19    7/28/2015 - 1/3/2017
    A0091      Heimbach_Matthew                 YouTube                    Matthew.W.Heimbach@gmail.com              2/18/2020         Collection   Completed                                                       Collection ready for Counsel's review                                                        2/27/2020                       10                            10                          31.50            N/A
    A0027         Hill_Michael                 Cell phone                                                            3/12/2019         Collection   Completed                                                       Documents Produced                                                                           3/12/2019                    7,384                           762                           0.06    1/27/2016 - 3/12/2019
    A0026         Hill_Michael                 Computer                                                               3/5/2019         Collection   Completed                                                       Documents Produced                                                                           3/11/2019                    7,055                         1,508                           0.30    10/11/1999 - 3/1/2019

                                                                                                                                                                                                                    iDS Cannot proceed Further. Data has also been requested via browser interface. iDS has
                                                                                                                                                                                                                    notified defense counsel, who will instruct the user to monitor email from a message from
     TBD           Hill_Michael                 Discord                           jmichhill@cs.com                                     Collection on Hold - awaiting data from Platform                             Discord. The user should send that message to iDS immediately upon receipt.
     TBD           Hill_Michael                 Discord                              Michael Hill                                      IDS Cannot Proceed Further                                                   iDS Cannot Proceed Further - Duplicate Account (Confirmed by Defendant)
    A0092          Hill_Michael                  Email                         LSPres@protonmail.com                 5/20/2019         Collection Completed                                                         Documents Produced                                                                            3/4/2020                3,740                             2,195                           0.62   02/26/2017 - 02/18/2020
    A0003          Hill_Michael                  Email                            jmichhill@cs.com                   2/23/2019         Collection Completed                                                         Documents Produced                                                                           2/27/2019               33,673                            20,671                           3.76    1/2/2010 – 2/27/2019

    A0093          Hill_Michael                  Email                      jmichhill@cs.com_2nd Collection          3/11/2020         Collection Completed                                                         Documents produced                                                                           3/11/2020               26,962                             5,706                           3.08   01/01/2016 - 03/11/2020



                                                                                                                                                                                                                    Defendant   must seek data through platform for this Facebook account
     TBD           Hill_Michael                Facebook                           League of the South                                  Collection on Hold - awaiting data from Platform                             Defendant   Counsel informed iDS they have requested archive from platform                      TBD
                                                                                                                                                                                                                    Defendant   must seek data through platform for this Facebook account
     TBD           Hill_Michael                Facebook                               Michael Hill                                     Collection on Hold - awaiting data from Platform                             Defendant   Counsel informed iDS they have requested archive from platform                      TBD
                                                                                                                                                                                                                    Defendant   must seek data through platform for this Facebook account
     TBD           Hill_Michael                Facebook                   Michael Hill ID: 1000027890145135          3/28/2019         Collection on Hold - awaiting data from Platform                             Defendant   Counsel informed iDS they have requested archive from platform                      TBD
                                                                                                                                                                                                                    Defendant   must seek data through platform for this Facebook account
     TBD           Hill_Michael                Facebook                  Michael.hill.501 (ID 646513035432192)                         Collection on Hold - awaiting data from Platform                             Defendant   Counsel informed iDS they have requested archive from platform                      TBD

                                                                                                                                                                                                                    iDS Cannot proceed Further. Data has also been requested via browser interface. iDS has
                                                                                                                                                                                                                    notified defense counsel, who will instruct the user to monitor email from a message from
                                                                                                                                                                                                                    Gab. The user should send that message to iDS immediately upon receipt. Per Defendant
                                                                                                                                                                                                                    Counsel request on 07/23/20, iDS has make additional request data from Gab and
     TBD           Hill_Michael                  Gab                           hill.michael6@gmail.com                                 Collection on Hold - awaiting data from Platform                             Defendant will monitor for notification from platform
     TBD           Hill_Michael                  Gab                                  MichaelHill51                  3/28/2019         IDS Cannot Proceed Further                                                   iDS Cannot Proceed Further - Duplicate Account (Confirmed by Defendant)                         TBD
     TBD           Hill_Michael                 Twitter                              @MichaelHill51                     N/A            Collection on Hold - awaiting data from Platform                             Defendant will need to seek data through platform for this Twitter account                      TBD

     TBD           Hill_Michael                 Twitter                             51CeannCinnidh                   3/28/2019         Collection on Hold - awaiting data from Platform                             Defendant will need to seek data through platform for this Twitter account                      TBD

     TBD           Hill_Michael                 Twitter                                71Rhodie                      3/28/2019         Collection on Hold - awaiting data from Platform                             Defendant will need to seek data through platform for this Twitter account                      TBD

     TBD           Hill_Michael                 Twitter                              BigChief1951                    3/28/2019         Collection on Hold - awaiting data from Platform                             Defendant will need to seek data through platform for this Twitter account                      TBD

     TBD           Hill_Michael                 Twitter                            JamesHill120651                   3/28/2019         Collection on Hold - awaiting data from Platform                             Defendant will need to seek data through platform for this Twitter account                      TBD

     TBD           Hill_Michael                 Twitter                             MickCollins1951                  3/28/2019         Collection on Hold - awaiting data from Platform                             Defendant will need to seek data through platform for this Twitter account                      TBD

   A0045           Hill_Michael             VKontakte (VK)                    Michael Hill ID: 388233418             3/28/2019         Collection Completed                                                         Documents Produced                                                                           5/28/2019                      602                           283                           0.00
  A0084_M         Hopper_Dillon               Cell phone                         Samsung Galaxy S9                   1/23/2020         Collection Completed                                                         Documents Produced                                                                           2/10/2020                    5,533                         2,923                           0.19
                                                                                                                                                                                                                    iDS Cannot Proceed Further - Phone appears to have been factory reset or there is some
     NA           Hopper_Dillon                Cell phone                         Samsung Galaxy S7                  7/10/2019         iDS attempted to collect and was unable                                      other issue.                                                                                     NA
     TBD          Hopper_Dillon                 Discord                               Dillon1488                     8/21/2019         Defendant has provided authorization to Discord for collection               Awaiting data
     TBD          Hopper_Dillon                 Discord                          White_Power Stroke                  8/21/2019         Defendant has provided authorization to Discord for collection               Awaiting data
     TBD          Hopper_Dillon                 Discord                       White_Power Stroke (Dillon)            8/21/2019         Defendant has provided authorization to Discord for collection               Awaiting data




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 TBD    Hopper_Dillon           Discord                          White-Power Stroke          8/21/2019    Defendant has provided authorization to Discord for collection          Awaiting data
 TBD    Hopper_Dillon           Discord                     White-Power Stroke (Dillon)      8/21/2019    Defendant has provided authorization to Discord for collection          Awaiting data
 TBD    Hopper_Dillon           Discord                  White-Power Stroke (Dillon) #6190   8/21/2019    Defendant has provided authorization to Discord for collection          Awaiting data
 TBD    Hopper_Dillon            Gmail                     AmericanVFinance@gmail.com        7/10/2019    iDS Cannot Proceed Further                                              iDS Cannot Proceed Further - Password Not Provided                                                    TBD
 TBD    Hopper_Dillon        Proton email                 VanAmAdmin@protonmail.com          7/10/2019    iDS Cannot Proceed Further                                              iDS Cannot Proceed Further - Password is incorrect                                                    TBD
A0084   Hopper_Dillon       Signal and Wire                      Samsung Galaxy S9           1/23/2020    Collection Completed                                                    Documents Produced                                                                                 2/10/2020         123      24     0.05
A0087   Hopper_Dillon          Telegram                   Dillon_Hopper@protonmail.com       1/28/2020    Collection Completed                                                    Documents Produced                                                                                 2/12/2020       1,068     139     0.15
 NA     Hopper_Dillon           Twitter                         @AmericanVanguard            8/21/2019    Defendant has provided authorization to Twitter for collection          Awaiting data
 TBD    Hopper_Dillon           Twitter                          @AmericaVanguard            7/10/2019    Defendant does not have the password                                    iDS Cannot Proceed Further - Account Suspended                                                        TBD
 TBD    Hopper_Dillon           Twitter                          @TrueAmVanguard             7/10/2019    Defendant has provided authorization to Twitter for collection          Awaiting data                                                                                         TBD
 TBD    Hopper_Dillon           Twitter                           @VanAmOfficial             7/10/2019    Defendant has provided authorization to Twitter for collection          Awaiting data                                                                                         TBD
                                                                  @Vanguard_Indy
                                                                   Email account:
TBD     Hopper_Dillon           Twitter            AMERICANVANGUARDINDIANA@TUTAMAIL.COM      8/21/2019    Defendant has provided authorization to Twitter for collection          Awaiting data
TBD     Hopper_Dillon           Twitter                           @VANGUARDAM                8/21/2019    Defendant has provided authorization to Twitter for collection          Awaiting data
                                                                                                                                                                                  iDS Cannot Proceed Further - Webpage is not available.
A0062   Hopper_Dillon          Website                       VanguardAmerica.online          7/10/2019    Collection In Progress                                                  Collection of publicly available data in progress.                                                    TBD
                                                                                                                                                                                  iDS has completed alternative collection method. iDS is determining optimal method for
A0072    Hopper_Dillon         Website                           BloodAndSoil.org            7/10/2019    Collection Completed                                                    staging and subsequent review.                                                                        TBD
 TBD    Identity Evropa        BitChute                           Identity_Evropa            8/10/2020    Supplemental ESI                                                        iDS Has Not started Collection
                                                                   Identity Evropa
TBD     Identity Evropa        Bitcoin                      identityevropa@gmail.com         8/10/2020    Supplemental ESI                                                        iDS Has Not started Collection
TBD     Identity Evropa        Discord                      whitewolf663@yahoo.com           4/23/2019    Supplemental ESI; Password not provided                                 iDS Cannot Proceed Further. Defense counsel coordinating with the platform.                           TBD
                                                                                                                                                                                  iDS Has Not Started Collection - The password to this account has been changed. 2FA may
 TBD    Identity   Evropa       Email                       identityevropa@gmail.com         2/28/2019    Coordinate collection with Defendant due to 2FA                         also be enabled.                                                                                      TBD
A0131   Identity   Evropa       Email                          patcasey89@live.com           8/10/2020    Collection completed                                                    Documents produced                                                                                 9/21/2020      17,090     3517    1.32   08/28/2012 - 09/20/2020
 TBD    Identity   Evropa       Email                   patrickcasey@identityevropa.com      8/10/2020    Supplemental ESI                                                        iDS Has Not started Collection
 TBD    Identity   Evropa       Email                         pmcasey89@gmail.com            8/10/2020    Supplemental ESI                                                        iDS Has Not started Collection
A0132   Identity   Evropa       Email                      whitewolff663@yahoo.com           8/10/2020    Collection completed                                                    Documents produced                                                                                 9/21/2020       6,867     4977    0.28   10/22/2015 - 09/21/2020
 TBD    Identity   Evropa     Facebook                            Unable to locate                        Account Reported Disabled; Username & Password Not Provided             iDS Cannot Proceed Further. Defense counsel coordinating with the platform.                           TBD

                                                                                                                                                                                  iDS is has requested data via the platform interface. iDS has informed defense counsel of
TBD     Identity Evropa         Gab.ai                          @identityevropa               3/1/2019    Collection In Progress                                                  this request and is waiting to receive notification from defense counsel or the custodian.            TBD
                                                                Nathan Damigo

TBD     Identity Evropa       GoFundMe                    nathan.damigo.nyf@gmail.com        8/10/2020    Supplemental ESI                                                        iDS Has Not started Collection
                                                                                                                                                                                  iDS Cannot Proceed Further - Profile exists but no data to collect. (New account, no posts,
NA      Identity Evropa       Instagram                           evropaidentity                          No data to collect.                                                     6 followers)                                                                                           NA
TBD     Identity Evropa         PayPal                    smoothacc0untant@gmail.com         8/10/2020    Supplemental ESI                                                        iDS Has Not started Collection
                                                         Reinhard Wolff @whitewolffgeist
 TBD    Identity   Evropa     Periscope                           Whitewolfgeist             8/10/2020    Supplemental ESI                                                        iDS Has Not started Collection
A0133   Identity   Evropa       Skype                                  nyf.us                8/10/2020    Collection completed                                                    Documents produced                                                                                 9/23/2020           1        1    0.00             N/A
 NA     Identity   Evropa       Slack                          Guardianie.slack.com          4/23/2019    Account Deleted. Confirmed by iDS.                                      iDS Cannot Proceed Further - Workspace has been deleted. Verified by iDS.                             NA
 TBD    Identity   Evropa       Slack                         patcasey89@live.com            8/10/2020    Supplemental ESI                                                        iDS Has Not started Collection
 TBD    Identity   Evropa      Square                    neworgforourpeople@gmail.com        8/10/2020    Supplemental ESI                                                        iDS Has Not started Collection
                                                                 Patrick Casey USA
TBD     Identity Evropa        Telegram                        t.me/patrickcaseyusa          8/10/2020    Supplemental ESI                                                        iDS Has Not started Collection
TBD     Identity Evropa        Telegram                    https://t.me/IdentityEvropa       2/28/2019    iDS Cannot Proceed Further                                              iDS Cannot Proceed Further - Defense counsel coordinating with the platform.                           TBD
                                                                                                                                                                                                                                                                                     Collected by
A0102   Identity   Evropa       Twitter                           @identityevropa            2/28/2019    Collection Completed                                                    Documents Produced                                                                                  Platform       2,744     731     0.05             N/A
 TBD    Identity   Evropa       Twitter                             @OpEuroEd                8/10/2020    Supplemental ESI                                                        iDS Has Not started Collection
 TBD    Identity   Evropa       Twitter                           @whitewolffgeist           8/10/2020    Supplemental ESI                                                        iDS Has Not started Collection
 TBD    Identity   Evropa       Twitter                          @patrickcaseyusa            8/10/2020    Supplemental ESI                                                        iDS Has Not started Collection
 TBD    Identity   Evropa       Twitter                              @at4v1sm                8/10/2020    Supplemental ESI                                                        iDS Has Not started Collection
                                                                    Patrick Casey
TBD     Identity Evropa        YouTube                      pmcasey42089@gmail.com           8/10/2020    Supplemental ESI                                                        iDS Has Not started Collection
                                                                   Restoring Order
TBD     Identity Evropa        YouTube                    restoringorder1000@gmail.com       8/10/2020    Supplemental ESI                                                        iDS Has Not started Collection
                                                                   Reinhard Wolff
TBD     Identity Evropa        YouTube                       fratera42089@gmail.com          8/10/2020    Supplemental ESI                                                        iDS Has Not started Collection
                                                                                                                                                                                  iDS Has Not Started Collection - The password to this account has been changed. 2FA may
TBD     Identity Evropa        YouTube                      identityevropa@gmail.com         4/23/2019    Supplemental ESI; Password not provided                                 also be enabled.                                                                                      TBD
                                                                                                          Collection provided to iDS by Defendant
S0001   Kessler_Jason         Facebook                            Jason Kessler              11/26/2019   Collection completed                                                    Documents Produced                                                                                  3/1/2019      10,864      934    2.80             N/A
A0010   Kessler_Jason         Cell phone                                                       3/4/2019   Collection Completed                                                    Additional Documents Produced_20200413                                                              3/4/2019      48,948   28,313    6.50   12/18/2012 – 03/03/2019
A0012   Kessler_Jason          Desktop                         Hard Drive 1 223GB              3/4/2019   Collection Completed                                                    Additional Documents Produced_20200413                                                              3/4/2019       7,173    5,937    1.50    11/11/2010 - 8/23/2018
A0013   Kessler_Jason          Desktop                         Hard Drive 2 931 GB             3/4/2019   Collection Completed                                                    Documents Produced                                                                                  3/4/2019         422      101    2.60    11/26/2000 - 6/23/2017
 NA     Kessler_Jason          Discord                               @zebo                    2/25/2019   Collection not attempted. User confirmed only one Discord account.      iDS Cannot Proceed Further - Duplicate account entry. No data to collect.

                                                                                                                                                                                  iDS Has Started Collection - Defense counsel will have custodian review email for the latest
                                                                                                                                                                                  request notification. If found, that notificiation will be sent to iDS. If the data is no longer
                                                                @themadddimension                                                                                                 available, iDS will make a new request and notify defense counsel, who will instruct user to
 TBD    Kessler_Jason          Discord                                 @zebo                 2/25/2019    Collection In Progress                                                  send that notification to iDS as sooon as it is received.
 TBD    Kessler_Jason           Email                       jason@unityandsecurity.org       4/12/2019    Account Reported to No Longer Exist in Webmail Database                 iDS Cannot Proceed Further - Defense counsel coordinating with the platform.
A0004   Kessler_Jason           Email                     themaddimension@gmail.com          2/25/2019    Collection Completed                                                    Additional Documents Produced_20200413                                                              3/7/2019      30,485   22,284    4.68    11/30/2015 - 3/7/2019
A0077   Kessler_Jason           Email                     victormurphy@protonmail.com         3/6/2019    Collection Completed                                                    Additional Documents Produced_20200413                                                             12/9/2019       2,563       84    0.21   09/13/2018 - 12/09/2019
A0099   Kessler_Jason           Email                          jekvertigo@gmail.com          1/30/2020    Collection Completed                                                    Documents Produced                                                                                 4/17/2020      13,689   10,486    1.75   12/31/1999 - 04/16/2020
A0100   Kessler_Jason           Email                            jek8d@virginia.edu          1/30/2020    Collection Completed                                                    Documents Produced                                                                                 4/17/2020      17,680    9,788    1.36   12/31/1999 - 04/15/2020

                                                                                                                                                                                  iDS Cannot Proceed Further - Defense counsel will provide data for 1 of the 2 Facebook
TBD     Kessler_Jason         Facebook                        broadswordmcqueen              2/19/2019    Account Reported Disabled; Username & Password Not Provided             Accounts as there is only 1 account to collect: ChedCheese or broadswordmcqueen.

                                                                                                                                                                                  iDS Cannot Proceed Further - Defense counsel will provide data for 1 of the 2 Facebook
TBD     Kessler_Jason         Facebook                             ChedCheese                2/19/2019    Account Reported Disabled; Username & Password Not Provided             Accounts as there is only 1 account to collect: ChedCheese or broadswordmcqueen.
TBD     Kessler_Jason         Facebook                         jek8d@virginia.edu            1/30/2020    Account unavailable. iDS attempted to login and account was disabled.   iDS Cannot Proceed Further - iDS confirming download options
TBD     Kessler_Jason            Gab                            themaddimension              4/12/2019    Account unavailable. iDS attempted to login and was unable to.          iDS Cannot Proceed Further - Defense counsel coordinating with the platform.
                                                                                                                                                                                  iDS Has Completed Collection. iDS is determining optimal method for staging and
A0046   Kessler_Jason          Google+                    themaddimension@gmail.com           3/8/2019    Collection Completed                                                    subsequent review.                                                                                 6/14/2019
 TBD    Kessler_Jason         Instagram                          Jason Kessler                            Account Reported Deleted; Email Account & Password Not Provided         iDS Cannot Proceed Further - Defense counsel coordinating with the platform.
 TBD    Kessler_Jason         Instagram                        themaddimension                            Account Reported Deleted; Email Account & Password Not Provided         iDS Cannot Proceed Further - Defense counsel coordinating with the platform.
A0011   Kessler_Jason           Laptop                                                        3/4/2019    Collection Completed                                                    Additional Documents Produced_20200413                                                              3/4/2019      42,840   19,225   23.10   12/31/1999 - 03/25/2019
 TBD    Kessler_Jason           Reddit                             Darksighed                2/25/2019    Account unavailable. iDS attempted to login and was unable to.          iDS Cannot Proceed Further - Defense counsel coordinating with the platform.
 TBD    Kessler_Jason           Reddit                           Wahoo_Serious               1/30/2020    Pending Collection                                                      Pending Collection
 TBD    Kessler_Jason           Reddit                            wahooserious               2/25/2019    Account unavailable. iDS attempted to login and was unable to.          iDS Cannot Proceed Further - Defense counsel coordinating with the platform.
A0047   Kessler_Jason           Twitter                        jek8d@virginia.edu             3/6/2019    Collection Completed                                                    Documents Produced                                                                                 3/14/2019       8,709    6,706    9.20             N/A
 TBD    Kessler_Jason           Twitter                   themaddimension@gmail.com           3/4/2019    iDS attempted to login and was unable to                                iDS Cannot Proceed Further - Defense counsel coordinating with the platform.
A0079   Kessler_Jason       VKontakte (VK)                   jekvertigo@gmail.com             3/8/2019    Collection Completed                                                    Documents Produced                                                                                 12/5/2019        131       23     0.00   07/01/2014 - 11/27/2019
                                                                                                                                                                                  iDS Has Completed Collection. iDS is determining optimal method for staging and
A0030   Kessler_Jason          Website                             Jasonkessler.us           2/25/2019    Collection Completed                                                    subsequent review.
A0038   Kessler_Jason          Youtube                              Jason Kessler            2/25/2019    Collection Completed                                                    Ready for counsel's review                                                                         3/27/2019         63       40    45.23             N/A
 TBD     Kline_Elliott        Broken PC                                 N/A                               iDS Cannot Proceed Further                                              iDS Cannot Proceed Further - no PC Provided
A0080    Kline_Elliott          Email                      deplorabletruth@gmail.com         12/11/2019   Collection Completed                                                    Documents Produced                                                                                  1/6/2019      12,894    5,349    0.71   09/25/2016 - 01/03/2020
A0081    Kline_Elliott          Email                        eli.f.mosley@gmail.com          12/11/2019   Collection Completed                                                    Documents Produced                                                                                  1/6/2019       2,409    2,409    0.23   03/06/2017 - 01/03/2020
A0082    Kline_Elliott          Email                       eli.r.kline@gmail.com.pst        12/20/2019   Collection Completed                                                    Documents Produced                                                                                  1/6/2019      20,586   20,553    1.50   01/01/2015 - 01/03/2020
 TBD     Kline_Elliott          Email                       Cvillereports@gmail.com           2/10/2020   iDS Cannot Proceed Further                                              iDS Cannot Proceed Further - Need to Address 2FA with Custodian                                    2/10/2020




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TBD        Kline_Elliott        Facebook                            Elliott Kline                             iDS Cannot Proceed Further - No credentials provided.                       iDS Cannot Proceed Further - No credentials provided.
TBD        Kline_Elliott         Gab.ai                             @EliMosley                                iDS Cannot Proceed Further - No credentials provided.                       iDS Cannot Proceed Further - No credentials provided.

 TBD        Kline_Elliott       iPhone 5                                  N/A                                 iDS Cannot Proceed Further - iPhone 4 was received. No iPhone 5 provided.   iDS Cannot Proceed Further - iPhone 4 was received. No iPhone 5 provided.
A0066       Kline_Elliott     Mobile Device                               N/A                     9/5/2019    Collection Completed                                                        Documents Produced                                                                          10/25/2019   105,990    17,866    3.50
 TBD        Kline_Elliott        Twitter                             @Eli_mosley_                             iDS Cannot Proceed Further - No credentials provided.                       iDS Cannot Proceed Further - No credentials provided.
 TBD        Kline_Elliott        Twitter                              @EliMosley                              iDS Cannot Proceed Further - No credentials provided.                       iDS Cannot Proceed Further - No credentials provided.
 TBD        Kline_Elliott        Twitter                             @Elimosleyie                             iDS Cannot Proceed Further - No credentials provided.                       iDS Cannot Proceed Further - No credentials provided.
 TBD        Kline_Elliott        Twitter                          @EliMosleyISBack                            iDS Cannot Proceed Further - No credentials provided.                       iDS Cannot Proceed Further - No credentials provided.
 TBD        Kline_Elliott        Twitter                            @EliMosleyOff                             iDS Cannot Proceed Further - No credentials provided.                       iDS Cannot Proceed Further - No credentials provided.
 TBD        Kline_Elliott        Twitter                            @NotElimosley                             iDS Cannot Proceed Further - No credentials provided.                       iDS Cannot Proceed Further - No credentials provided.
 TBD        Kline_Elliott        Twitter                          @Sheli_shmosley                             iDS Cannot Proceed Further - No credentials provided.                       iDS Cannot Proceed Further - No credentials provided.
 TBD        Kline_Elliott        Twitter                            @thatelimosley                            iDS Cannot Proceed Further - No credentials provided.                       iDS Cannot Proceed Further - No credentials provided.
A0073   League of the South       Blog                      www.occidentialdissent.com           7/25/2019    Collection completed                                                        Documents Produced                                                                          9/21/2020     71,733    64,389   71.50
 TBD    League of the South       Email                    hunterwallace1984@gmail.com                        IDS Cannot Proceed Further                                                  iDS Cannot Proceed Further - Password does not work.
A0130   League of the South       Email                      lethalinjection@yahoo.com           8/25/2020    Collection Completed                                                        Search term report provided to counsel on 08/27/2020                                        8/25/2020     83,052    60,647    2.60   02/06/2005 - 08/25/2020
 TBD    League of the South    Facebook                    hunterwallace1984@gmail.com           7/25/2019    Collection on Hold - awaiting data from Platform                            Defendant must seek data through platform for this Facebook account
 TBD    League of the South    Facebook              League of the South (ID: 189475291140911)                Collection on Hold - awaiting data from Platform                            Defendant must seek data through platform for this Facebook account
 TBD    League of the South    Facebook              League of the South (ID: 289000974841018)                Collection on Hold - awaiting data from Platform                            Defendant must seek data through platform for this Facebook account
 TBD    League of the South    Facebook                      lethalinjection@yahoo.com           7/25/2019    Collection on Hold - awaiting data from Platform                            Defendant must seek data through platform for this Facebook account
                                                                                                                                                                                          Access attempted while on call with Counsel; Facebook no longer recognizes the email
                                                                                                                                                                                          address for this account; 2FA would not allow iDS to proceed with collection. Defendant
TBD     League of the South     Facebook                     prozium1984@gmail.com                            IDS Cannot Proceed Further                                                  must seek data through platform for this Facebook account

                                                                                                                                                                                          iDS Cannot proceed Further. Data has also been requested via browser interface. iDS has
                                                                                                                                                                                          notified defense counsel, who will instruct the user to monitor email from a message from
                                                                                                                                                                                          Gab. The user should send that message to iDS immediately upon receipt. Per request by
                                                                                                                                                                                          Defendant Counsel on 07/23/20, iDS has make additional request data from Gab and
 TBD    League of the South        Gab                       prozium1984@gmail.com               3/25/2020    IDS Cannot Proceed Further                                                  Defendant will monitor for notification from platform
A0094   League of the South       Gmail                      prozium1984@gmail.com                            Collection Completed                                                        Documents Produced                                                                          3/23/2020    190,643   105,591   10.96   12/31/1999 - 03/18/2020

                                                                                                                                                                                          iDS Cannot Proceed Further - According to the interface, the account does not exist
                                                                                                                                                                                          Defendant must seek data through platform for this Twitter account. Defendant Counsel
 TBD    League of the South      Twitter                           occdissent                    7/25/2019    IDS Cannot Proceed Further                                                  informed to request data for occdissent from platform
A0106   League of the South   VKontakte (VK)                prozium1984@gmail.com                3/25/2020    Collection Completed                                                        Ready for counsel's review                                                                  8/10/2020       132          9    0.02             N/A
 TBD    League of the South   VKontakte (VK)                 randall105@gmail.com                3/25/2020    Pending Collection                                                          Pending Collection
A0095   League of the South     YouTube                     prozium1984@gmail.com                 9/9/2020    Collection Completed                                                        iDS Has Completed Collection but Collection set contains no data.                           3/23/2020
 N/A    League of the South     YouTube                www.youtube.com/user/prozium1984          7/25/2019    iDS Cannot Proceed Further - User does not exist                            iDS Cannot Proceed Further - User does not exist.
         National Socialist
A0054       Movement              Bitchute               nsm88media2@protonmail.com              4/30/2019    Collection Completed                                                        iDS Cannot Proceed
                                                                                                                                                                                          Documents   ProducedFurther                                                                 4/10/2020       364       364    13.88             N/A
         National Socialist    BlogTalkRadio                                                                                                                                              Credentials not provided
TBD         Movement          Podcast Service                      213-943-3765                   7/7/2020    iDS Cannot Proceed Further
         National Socialist    BlogTalkRadio
TBD         Movement          Podcast Service                      516-453-6058                   7/7/2020    iDS Cannot Proceed Further                                                  iDS Cannot Proceed Further - Password incorrect
         National Socialist
A0107       Movement              Email                     nsm88atlanta@gmail.com               10/18/2019   Collection Completed                                                        Documents Produced                                                                          8/10/2020       300       211     0.04   07/14/2016 - 08/10/2020
         National Socialist
A0108       Movement              Email                     nsm88bama@gmail.com                  10/18/2019   Collection Completed                                                        Documents Produced                                                                          8/10/2020         11         1    0.00   07/08/2016 - 08/10/2020
         National Socialist
A0109       Movement              Email                     nsm88cinci@gmail.com                 10/18/2019   Collection Completed                                                        Documents Produced                                                                          8/10/2020         18         7    0.00   03/14/2017 - 08/10/2020
         National Socialist
A0110       Movement              Email                    nsm88connecticut@gmail.com            10/18/2019   Collection Completed                                                        Documents Produced                                                                          8/10/2020         14         3    0.00   02/27/2020 - 08/20/2020
         National Socialist
A0111       Movement              Email                     nsm88detroit@gmail.com               10/18/2019   Collection Completed                                                        Documents Produced                                                                          8/10/2020       243         52    0.01   10/10/2017 - 08/10/2020
         National Socialist
A0112       Movement              Email                     nsm88kansas@gmail.com                10/18/2019   Collection Completed                                                        Documents Produced                                                                          8/10/2020         69         9    0.01    6/9/2017 - 08/10/2020
         National Socialist
A0113       Movement              Email                    nsm88michigan@gmail.com               10/18/2019   Collection Completed                                                        Documents Produced                                                                          8/10/2020       197         27    0.02   7/13/2015 - 08/10/2020
         National Socialist
A0114       Movement              Email                    nsm88monroe@gmail.com                 10/18/2019   Collection Completed                                                        Documents Produced                                                                          8/10/2020         55         1    0.00   2/17/2018 - 08/10/2020
         National Socialist
A0115       Movement              Email                     nsm88ny@gmail.com                    10/18/2019   Collection Completed                                                        Documents Produced                                                                          8/10/2020         19        10    0.00    7/7/2016 - 08/10/2020
         National Socialist
A0116       Movement              Email                      nsm88r5@gmail.com                   10/18/2019   Collection Completed                                                        Documents Produced                                                                          8/10/2020       898       522     0.05   12/31/1999 - 08/10/2020
         National Socialist
A0117       Movement              Email                    nsm88southflorida@gmail.com           10/18/2019   Collection Completed                                                        No documents hit on search terms                                                            8/10/2020         11        -     0.00   1/22/2018 - 08/10/2020
         National Socialist
A0118       Movement              Email                     nsm88toledo@gmail.com                10/18/2019   Collection Completed                                                        No documents hit on search terms                                                            8/10/2020          5        -     0.00   12/14/2018 - 08/10/2020
         National Socialist
A0119       Movement              Email                    nsmalabama88@gmail.com                10/18/2019   Collection Completed                                                        No documents hit on search terms                                                            8/10/2020         16        -     0.00   12/21/2013 - 08/10/2020
         National Socialist
A0120       Movement              Email                     nsmarkansas@gmail.com                10/18/2019   Collection Completed                                                        No documents hit on search terms                                                            8/10/2020          6        -     0.00   06/18/2019 - 08/10/2020
         National Socialist
A0121       Movement              Email                     nsmfresno@gmail.com                  10/18/2019   Collection Completed                                                        No documents hit on search terms                                                            8/10/2020          9        -     0.00   10/14/2013 - 08/10/2020
         National Socialist
A0122       Movement              Email                     nsmmaryland@gmail.com                10/18/2019   Collection Completed                                                        No documents hit on search terms                                                            8/10/2020          8        -     0.00   11/09/2019 - 08/10/2020
         National Socialist
A0123       Movement              Email                     nsmmsst88@gmail.com                  10/18/2019   Collection Completed                                                        Documents Produced                                                                          8/10/2020         14         2    0.00   08/30/2016 - 08/10/2020
         National Socialist
A0124       Movement              Email                      nsmnc88@gmail.com                   10/18/2019   Collection Completed                                                        Documents Produced                                                                          8/10/2020         22        12    0.00    7/7/2016 - 08/10/2020
         National Socialist
A0125       Movement              Email                      nsmpor@gmail.com                    10/18/2019   Collection Completed                                                        Documents Produced                                                                          8/10/2020         98         2    0.01   01/04/2018 - 08/10/2020
         National Socialist
A0126       Movement              Email                      nsmregion4hq@gmail.com               7/7/2020    Collection Completed                                                        Documents Produced                                                                          8/10/2020      1,174      797     0.18   12/31/1999 - 08/10/2020
         National Socialist
A0127       Movement              Email                     nsmvermont@gmail.com                 10/18/2019   Collection Completed                                                        Documents Produced                                                                          8/10/2020         18         2    0.00   02/03/2018 - 08/10/2020
         National Socialist
A0128       Movement              Email                    nsmwestvirginia@gmail.com             10/18/2019   Collection Completed                                                        Documents Produced                                                                          8/10/2020         43        28    0.00   10/19/2017 - 08/10/2020
         National Socialist
A0129       Movement              Email                      r3nsm88@gmail.com                   10/18/2019   Collection Completed                                                        Documents Produced                                                                          8/10/2020       591       455     0.10   04/13/2017 - 08/10/2020
         National Socialist                                                                                                                                                               iDS Cannot Proceed Further
TBD         Movement              Email                       chiefofstaff@nsm88.org              7/7/2020    iDS Cannot Proceed Further                                                  Credentials
                                                                                                                                                                                          iDS         not provided
                                                                                                                                                                                              Cannot Proceed  Further
         National Socialist                                                                                                                                                               Password not provided
TBD         Movement              Email                       commander@nsm88.org                 7/7/2020    iDS Cannot Proceed Further                                                  Defendant states the account is Inactive
         National Socialist
TBD         Movement              Email                     commanderburt@nsm88.org               7/7/2020    iDS Cannot Proceed Further                                                  iDS Cannot Proceed Further - Password incorrect
         National Socialist
TBD         Movement              Email                     Minnesota@gmail.com                  10/18/2019   iDS Cannot Proceed Further                                                  iDS Cannot Proceed Further - Password incorrect
         National Socialist                                                                                                                                                               Password not provided
TBD         Movement              Email                        nsm88ky@gmail.com                  7/7/2020    iDS Cannot Proceed Further                                                  Defendant states the account is Inactive/Unknown
         National Socialist
TBD         Movement              Email                     nsm88utah@gmail.com                  10/18/2019   iDS Cannot Proceed Further                                                  iDS Cannot Proceed Further - Password incorrect
         National Socialist
TBD         Movement              Email                     nsm88utah@gmail.com                  10/18/2019   iDS Cannot Proceed Further                                                  iDS Cannot Proceed Further - Password incorrect




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          National Socialist                                                                                                                                                iDS Cannot Proceed Further - Password is correct but 2FA must be bypassed. Attempt was
TBD         Movement                    Email                 nsm88wyoming@gmail.com       10/18/2019   Collection pending - must bypass 2FA                                made on 08/10/2020 with Defendant. Will attempt ro collect again.
          National Socialist
TBD         Movement                    Email                  nsmambassador@gmail.com      7/7/2020    iDS Cannot Proceed Further                                          iDS Cannot Proceed Further - Password incorrect
                                                                                                                                                                            iDS Cannot Proceed Further
          National Socialist                                                                                                                                                Password not provided
TBD         Movement                    Email                  nsmchiefofstagg@gmail.com    7/7/2020    iDS Cannot Proceed Further                                          Defendant states the account is Inactive/Unknown
          National Socialist
TBD         Movement                    Email                 nsmcolumbus.oh@gmail.com     10/18/2019   iDS Cannot Proceed Further                                          iDS Cannot Proceed Further - Google does not recognize this email address.
          National Socialist
TBD         Movement                    Email                  nsmflorida@gmail.com        10/18/2019   iDS Cannot Proceed Further                                          iDS Cannot Proceed Further - Password incorrect
          National Socialist
TBD         Movement                    Email                 nsmorlando88@gmail.com       10/18/2019   iDS Cannot Proceed Further                                          iDS Cannot Proceed Further - Google does not recognize this email address.
                                                                                                                                                                            iDS Cannot Proceed Further
          National Socialist                                                                                                                                                Password not provided
TBD         Movement                    Email                   nsmregion11@gmail.com       7/7/2020    iDS Cannot Proceed Further                                          Defendant states the account is Inactive/Unknown
          National Socialist
TBD         Movement                    Email                 nsmregion9hq@gmail.com       10/18/2019   iDS Cannot Proceed Further                                          iDS Cannot Proceed Further - Password incorrect
          National Socialist
TBD         Movement                    Email                   nsmssdivision@gmail.com     7/7/2020    iDS Cannot Proceed Further                                          iDS Cannot Proceed Further - Password incorrect
          National Socialist                                                                                                                                                Credentials not provided
TBD         Movement                  Facebook                                              7/7/2020    iDS Cannot Proceed Further                                          Defendant states the account is Inactive
          National Socialist                                                                                                                                                iDS Cannot Proceed Further - hotline is not something that can be collected by forensics
TBD         Movement               Hotline Service                    651-659-6307          7/7/2020    iDS Cannot Proceed Further                                          consultant
          National Socialist                                             Colucci
A0105       Movement                   Laptop                    Aspire 3 Model N17Q2       7/7/2020    Collection Completed                                                Documents Produced                                                                             7/10/2020      935      935    74.90   03/05/2012 - 07/07/2020
          National Socialist                                             Colucci
A0104       Movement               Mobile Device                   iPhone 11 Pro Max        7/7/2020    Collection Completed                                                No reviewable documents available from collected data.

          National Socialist                                             Colucci                                                                                            iDS Cannot Proceed Further
TBD         Movement               Mobile Device                     iPhone XS Max          7/7/2020    iDS Cannot Proceed Further                                          Custodian states the device was returned to carrier prior to the filing of the Court Order
          National Socialist
TBD         Movement             Newsletter Service                   Benchmark             7/7/2020    iDS Cannot Proceed Further                                          iDS Cannot Proceed Further - Password did not work
                                                                                                                                                                            iDS Cannot Proceed Further
          National Socialist                                                                                                                                                Credentials not provided
TBD         Movement             Newsletter Service                 Constant Contact        7/7/2020    iDS Cannot Proceed Further                                          Defendant states the account is Inactive
                                                                                                                                                                            iDS Cannot Proceed Further
          National Socialist                                                                                                                                                Password not provided
TBD         Movement                   Twitter                          NSM88               7/7/2020    iDS Cannot Proceed Further                                          Defendant states he has never had access
                                                                                                                                                                            iDS Cannot Proceed Further
                                                                                                                                                                            Credentials not provided
                                                                                                                                                                            Custodian provided that iDS should alternatively access Twitter account by signing in using
                                                                                                                                                                            his mobile device. iDS was able to sign in but based on the items accesed on the mobile
          National Socialist                                                                                                                                                device the Twitter account appears to be new and has not been completely set up. Hence,
TBD         Movement                   Twitter                       @ColucciBurt           7/7/2020    iDS Cannot Proceed Further                                          there is no data for iDS to collect.
                                                                                                                                                                            iDS Cannot Proceed Further
          National Socialist                                                                                                                                                Password not provided
TBD         Movement               VKontakte (VK)                     300604375             7/7/2020    iDS Cannot Proceed Further                                          Defendant states the account is Inactive
                                                                                                                                                                            iDS Cannot Proceed Further
          National Socialist                                                                                                                                                Password not provided
TBD         Movement               VKontakte (VK)                     Burt Colucci          7/7/2020    iDS Cannot Proceed Further                                          Defendant states the account is Inactive
          National Socialist                                                                                                                                                Documents Produced as iDS EID A0074 by Defendant J. Schoep
TBD         Movement                  Website                       www.nsm88.org           7/7/2020    Publicly available information was captured previously.             Defendant B. Colucci states he never had access to the website.
                                                                                                                                                                            iDS Cannot Proceed Further
          National Socialist       Yahoo Groups                                                                                                                             Password not provided
TBD         Movement             Newsletter Service           nsmworld@yahoogroups.com      7/7/2020    iDS Cannot Proceed Further                                          Defendant states the account is Inactive
                                                                                                                                                                            iDS Cannot Proceed Further
          National Socialist                                                                                                                                                Password not provided
TBD         Movement                  YouTube                         NSM Media             7/7/2020    iDS Cannot Proceed Further                                          Defendant states he has never had access

A0032     Parrott_Matthew            Cell phone                                            3/20/2019    Collection Completed                                                Documents Produced                                                                             3/21/2019      300       23     0.00   11/02/2017 - 03/15/2019
                                                                                                                                                                            iDS Cannot Proceed Further - Interface indicates that a new login location has been
                                                                                                                                                                            detected. User should check email and steps to authorize access and/or consult with iDS
 TBD      Parrott_Matthew              Discord                  parrott.matt@gmail.com     2/25/2019    iDS Cannot Proceed Further                                          for next steps.                                                                                   TBD
A0014     Parrott_Matthew               Email                   parrott.matt@gmail.com     3/20/2019    Collection Completed                                                Additional Documents Produced_20200413                                                         3/20/2019   249,777   87,202   26.85     5/7/2005 - 3/21/2019
A0034     Parrott_Matthew             Facebook                   draftdelph@gmail.com       3/8/2019    Collection Completed                                                Documents Produced                                                                              7/1/2019       136       17    0.01    06/17/2018 - 3/21/2019
 TBD      Parrott_Matthew             Facebook                  edruben1948@gmail.com      4/23/2019    Supplemental ESI; iDS Cannot Proceed Further                        iDS Cannot Proceed Further - Defense counsel coordinating with the platform.                      TBD
 TBD      Parrott_Matthew             Facebook                  parrott.matt@gmail.com     4/23/2019    Supplemental ESI; iDS Cannot Proceed Further                        iDS Cannot Proceed Further - Defense counsel coordinating with the platform.                      TBD

                                                                                                                                                                            iDS Cannot Proceed Further - 1 of the Gab accounts is an older account. The other entry is
                                                                                                                                                                            duplicate with no data to collect (@MattParrott). Defense cousel will provide available
 TBD      Parrott_Matthew               Gab                     parrott.matt@gmail.com     4/23/2019    Supplemental ESI; iDS Cannot Proceed Further                        data for the older gab account. The other entry will be re-keyed as NA for not applicable.       TBD
A0009     Parrott_Matthew              Gab.ai                           @Parrott           2/25/2019    Collection Completed                                                Ready for counsel's review                                                                     3/3/2019          3        3    0.04             N/A



                                                                                                                                                                            iDS Cannot Proceed Further - 1 of the Gab accounts is an older account. The other entry is
                                                                                                                                                                            duplcate with no data to collect (parrott.matt@gmail.com). Defense cousel will provide
                                                                                                                                                                            available data for the older gab account. The other entry will be re-keyed as NA for not
 TBD      Parrott_Matthew             Gab.ai                         @MattParrott          2/25/2019    iDS Cannot Proceed Further                                          applicable.                                                                                       TBD
A0031     Parrott_Matthew            Hard drive                                            3/20/2019    Collection Completed                                                Additional Documents Produced_20200413                                                         3/20/2019     5,619    1,624    9.31     10/8/1997 - 9/11/2018
A0033     Parrott_Matthew             Laptop                                               3/20/2019    Collection Completed                                                Additional Documents Produced_20200413                                                         3/21/2019    56,682    5,482    1.90   10/14/1997 - 02/223/2019
A0037     Parrott_Matthew              Minds                          mattparrott           3/8/2019    Collection Completed                                                Documents Produced                                                                             4/24/2019       667      667    0.07    02/13/2018 - 4/20/2019
 NA       Parrott_Matthew              Minds                          Matt Parrott         4/23/2019    iDS Cannot Proceed Further                                          iDS Cannot Proceed Further - Duplicate Entry. No data to collect.                                 TBD
                                                                                                                                                                            iDS Cannot Proceed Further - iDS has determined the login credentials are correct, but 2FA
                                                                                                                                                                            is enabled. Defense counsel will assist iDS in coordinating access to the gmail google voice
TBD       Parrott_Matthew       Primary phone number                 (317) 324-8282        2/25/2019    iDS Cannot Proceed Further                                          account with the user.                                                                           TBD
                                                                                                                                                                            iDS Cannot Proceed Further - Defense counsel will coordinate with the custodian to have
                                                                                                                                                                            the mobile device returned to iDS. iDS will investigate options for accessing and
 TBD      Parrott_Matthew              Signal                                              4/23/2019    Supplemental ESI; iDS Cannot Proceed Further                        downloading signal data.
A0035     Parrott_Matthew            Telegram                        317-324-8282          3/21/2019    Collection Completed                                                Documents Produced                                                                             3/21/2019        13       13    0.05             N/A
A0052     Parrott_Matthew             Twitter                      @MatthewParrott         4/23/2019    Collection Completed                                                Documents Produced                                                                              7/1/2019     7,207    5,301    2.93             N/A
A0053     Parrott_Matthew          VKontakte (VK)                   +1812 8655512           3/8/2019    Collection Completed                                                Documents Produced                                                                              7/1/2019       222       93    0.00             N/A
                                                                                                                                                                            iDS Cannot Proceed Further
                                                                                                                                                                            iDS attempted to collect. There is no WhatsApp data on the mobile device image.
A0036     Parrott_Matthew            WhatsApp                        317-324-8282          2/25/2019    iDS Cannot Proceed Further                                          Collection set contains no data.                                                               3/21/2019
A0025   Ray_Robert Azzmador          Cell phone                                             3/7/2019    Collection Completed                                                Additional Documents Produced_20200413                                                         3/13/2019     2,272     159     0.02   05/30/2016 - 03/11/2019

 TBD    Ray_Robert   Azzmador          Discord                          Azzmador                        Defendant does not remember password                                iDS Cannot Proceed Further - Defendant does not remember password                                TBD
 TBD    Ray_Robert   Azzmador          Discord                       azzmador 6970                      Defendant does not remember password                                iDS Cannot Proceed Further - Defendant does not remember password                                TBD
A0039   Ray_Robert   Azzmador           Email                     azzmador@gmail.com        3/4/2019    Collection Completed                                                Additional Documents Produced_20200413                                                         4/9/2019      9,063    2,748    0.73    11/10/2014 - 4/9/2019
 TBD    Ray_Robert   Azzmador          Gab.ai                           Azzmador                        Defendant does not remember password                                iDS Cannot Proceed Further - Defendant does not remember password                                TBD

A0068   Ray_Robert Azzmador         Krypto Report                       podcast                         Collection In Progress                                              Defendant does not remember password. iDS collecting publicly available information.              TBD
A0024   Ray_Robert Azzmador            Laptop                             Dell              3/7/2019    Collection Completed                                                Documents Produced                                                                             3/13/2019    11,537    3,404    3.60   12/31/1999 - 08/21/2012




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TBD     Ray_Robert Azzmador             Laptop                                                                     iDS Cannot Proceed Further                                                        iDS Cannot Proceed Further - Waiting on Defendant to Ship Device(s)                             TBD

                                                                                                                                                                                                     iDS Cannot Proceed Further - Password Not Provided. No public information to download.
TBD     Ray_Robert Azzmador             Twitter                            @Azzmador                               iDS Cannot Proceed Further                                                        Defendant should contact platform to access account data and provide to iDS.                    TBD

 TBD    Ray_Robert Azzmador            Website                          Dailystormer.name                          iDS Cannot Proceed Further                                                        iDS Cannot Proceed Further - Defendant does not remember username or password                   TBD
A0040       Schoep_Jeff               Cell phone                                                       3/11/2019   iDS Cannot Proceed Further                                                        iDS Cannot Proceed Further - damaged device                                                     N/A            N/A    N/A               N/A                     N/A
A0103       Schoep_Jeff               Cell phone                             iPhone 6s                 5/14/2020   Collection Completed                                                              Documents Produced                                                                           5/14/2020         131                 45          0.12             N/A
A0043       Schoep_Jeff                 Email                       commander@newsaxon.org              5/3/2019   Collection Completed                                                              Documents Produced                                                                           5/10/2019         313    164                      0.09   10/11/2007 - 05/09/2019
A0044       Schoep_Jeff                 Email                         jeffschoep@gmail.com              5/3/2019   Collection Completed                                                              Documents Produced                                                                           5/10/2019         293    211                      0.05   04/17/2012 - 05/09/2019
A0041       Schoep_Jeff                Laptop                                                           5/7/2019   Collection Completed                                                              Documents Produced                                                                           5/13/2019      18,819    305                      0.28   07/08/1998 - 03/07/2019
                                                                                                                   iDS accessed the publically available information
A0042        Schoep_Jeff                Twitter                            @jeffschoep                             Collection Completed                                                              Documents Produced                                                                           6/20/2019           51                 3          0.02             N/A
                                                                                                                                                                                                     iDS Cannot Proceed Further - Account Reported Disabled. Public Account seems to exist
                                                                                                                                                                                                     without content. Would need password to confirm but Defendant does not remember
 NA          Schoep_Jeff               Twitter                      commander@newsaxon.org             4/30/2019   iDS Cannot Proceed Further                                                        password                                                                                        TBD
A0048        Schoep_Jeff            VKontakte (VK)                  commander@newsaxon.org             6/19/2019   Collection Completed                                                              Documents Produced                                                                           6/19/2019         745               396           0.02             N/A

                                                                                                                   Collection Completed. Credentials did not work. Publically available
A0074        Schoep_Jeff               Website                spectra (NSM88.ORG - nsm88.org/cpanel)   5/3/2019    information was captured.                                                         Documents Produced (Publically available information)                                        11/11/2019       2,249             2,146          4.70             N/A

A0007     Spencer_Richard             Cell phone                             iPhone 7                  3/1/2019    Collection Completed                                                              Data loaded to Relativity and search term report provided to Counsel on 07/22/2020           7/17/2020       4,489             4,177           7.70   04/03/2016 - 05/16/2018
A0021     Spencer_Richard             Cell phone                             iPhone X                  3/7/2019    Collection Completed                                                              Documents Produced                                                                            3/7/2019     141,865           127,143           0.50   07/19/2016 - 03/07/2019
                                                                                                                                                                                                     iDS Cannot Proceed Further - iDS needs to obtain password from counsel. Per
 NA       Spencer_Richard               Discord                            richard#8317                            IDS Cannot Proceed Further                                                        communications with Defendant on 7/16/20, this account does not exist.
                                                                                                                                                                                                     On 7/16/20, Defendant provided data via sFTP. Data determined to be corrupt - iDS will try
S0006     Spencer_Richard              Facebook                    richardbspencer@gmail.com            3/1/2019   Collection Completed - Defendant provided collected data                          to recover otherwise Defendant will have to provide data again.                                 N/A            N/A N/A                  N/A                     N/A
A0086     Spencer_Richard                Email                     richardbspencer@gmail.com           4/23/2019   Collection Completed                                                              Data loaded to Relativity and report provided to Counsel on 07/22/2020                       7/20/2020
A0018     Spencer_Richard                Email                     richardbspencer@icloud.com           3/7/2019   Collection Completed                                                              Documents Produced                                                                            3/7/2019     143,999            43,526          13.20    4/22/2002 - 3/14/2019
                                                                                                                                                                                                     Per communications with Defendant on 7/16/20, Defendant provided to iDS previously
                                                                                                                                                                                                     downloaded WhatsApp data (downloaded on 5/9) - iDS will look to retrieved iCloud backup
                                                                                                                                                                                                     as well under mobile (iPhone 7) data collected.
S0007     Spencer_Richard             WhatsApp                                                         3/7/2019    Collection Completed - Defendant provided collected data                          Data provided by Defendant contains no user-created value                                    7/16/2020

                                                                                                                                                                                                     iDS Cannot Proceed Further - Account Disabled. Per communications with Defendant on
TBD       Spencer_Richard             Instagram                          richardbspencer               3/1/2019    iDS Cannot Proceed Further                                                        7/16/20, confirmed that the account disabled and there is no relevant data on account.          N/A            N/A N/A                  N/A                     N/A

                                                                                                                   Analysis of image concluded that there was no data obtained from the laptop
                                                                                                                   as there was no Operating System in place. Defendant had notified iDS of
A0008     Spencer_Richard               Laptop                               MacBook                    3/1/2019   issues with laptop and is why he purchased a second laptop that is also listed.   iDS Cannot Proceed Further - No operating system on device                                    3/8/2019         N/A N/A                  N/A                     N/A
A0022     Spencer_Richard               Laptop                             MacBook Pro                  3/7/2019   Collection Completed                                                              Documents Produced                                                                            3/8/2019     330,873            85,083          20.00   02/09/1998 - 03/05/2019
A0050     Spencer_Richard                Skype                           richardbspencer               4/23/2019   Collection Completed                                                              Documents Produced                                                                           6/25/2019         130               130           0.12    4/12/2017 - 6/19/2019
A0020     Spencer_Richard                Slack                   nchardchardbspencer@icloud.com         3/1/2019   Collection Completed                                                              Documents Produced                                                                            3/7/2019         730               523           0.01   12/03/2015 - 02/16/2018
A0019     Spencer_Richard               Tablet                                                          3/7/2019   Collection Completed                                                              Documents Produced                                                                            3/7/2019     136,921           120,880           0.40    9/13/2016 - 03/07/2019
A0051     Spencer_Richard               Twitter                         @richardbspencer                3/1/2019   Collection Completed                                                              Documents Produced                                                                           3/13/2019      10,599             5,612           0.12             N/A
                                                                                                                                                                                                     iDS Cannot Proceed Further - Account Reported Disabled (Email and Password Not
                                                                                                                                                                                                     Provided) - iDS found the account, but Twitter indicates the public tweets are protected.
                                                                                                                   iDS Cannot Proceed Further. Account Reported Disabled; iDS found an               Per communications with Defendant on 7/16/20, Defendant has requested data from
TBD       Spencer_Richard               Twitter                             @AtlRight__                4/23/2019   account, but was unable to access the information.                                platform.
                                                                          richardspencer                                                                                                             Collection provided to iDS by Defendant
A0065     Spencer_Richard        URL hosting and email                       Hover.com                 4/23/2019   Collection provided to iDS by Defendant                                           No documents hit upon the search terms                                                        9/5/2019            5                -
                                                                                                                                                                                                     On 7/16/20, Defendant provided data via sFTP.
S0008      Spencer_Richard              Discord                     richardbspencer@gmail.com          3/1/2019    Collection Completed - Defendant provided collected data                          Data provided by Defendant contains no user-created value                                    7/16/2020
        Traditionalist Workers                                                                                                                                                                       iDS Cannot Proceed Further - Defense counsel will confer to provide more information
TBD              Party                   Email                       TradWorker (ChimpMail)            4/23/2019   Supplemental ESI; Working with Counsel to obtain password                         regarding this account.
        Traditionalist Workers                                                                                     Account Reported Disabled; iDS conducted search and confirmed account
 TBD             Party                 Twitter                            @TradWorker                  4/23/2019   disabled                                                                          iDS Cannot Proceed Further - Defense counsel coordinating with the platform.
A0029       Tubbs_Michael             Cell phone                                                       3/15/2019   Collection Completed                                                              Documents Produced                                                                           3/15/2019       4,876                197          0.04   10/17/2015 - 03/15/2019
A0088       Tubbs_Michael               Email                        floridas_son@yahoo.com            2/19/2020   Collection Completed                                                              Documents Produced                                                                           2/20/2020      10,530              6,071          1.14   03/25/2002 - 02/19/2020



                                                                                                                                                                                                     iDS Cannot Proceed Further - Per Defendant Counsel on 07/23/20, account has been
TBD        Tubbs_Michael                 Email                        LSCoC@protonmail.com             9/11/2019   iDS Cannot Proceed Further                                                        deleted and platform informed that no information for this account is available
                                                                                                                                                                                                     iDS Cannot Proceed Further - Defendant must seek data through platform for this
TBD        Tubbs_Michael               Facebook                           Michael Tubbs                            iDS Cannot Proceed Further                                                        Facebook account
                                                                         michael.tubbs.108                                                                                                           iDS Cannot Proceed Further - Defendant must seek data through platform for this
TBD        Tubbs_Michael               Facebook                 (App Scoped ID: 1731330207145170)                  iDS Cannot Proceed Further                                                        Facebook account
                                                                                                                                                                                                     iDS Cannot Proceed Further - Defendant must seek data through platform for this
 TBD      Tubbs_Michael               Facebook                              Mike Sable                             iDS Cannot Proceed Further                                                        Facebook account
A0028     Tubbs_Michael               Hard drive                                                       3/14/2019   Collection Completed                                                              Documents Produced                                                                           3/15/2019      13,912                72           0.30    1/11/2001 - 3/28/2019
A0049     Tubbs_Michael             VKontakte (VK)                   floridas_son@yahoo.com            3/22/2019   Collection Completed                                                              Documents Produced                                                                           6/20/2019         616               244           0.01            N/A
 TBD     Vanguard America             Cell phone                                                                   iDS Cannot Proceed Further                                                        iDS Cannot Proceed Further - Waiting on Defendant to Ship Device(s)
 TBD     Vanguard America              Discord                              Dillon1488                 2/25/2019   iDS Cannot Proceed Further                                                        iDS Cannot Proceed Further - Email address for account not provided
 TBD     Vanguard America              Discord                          White-PowerStroke              2/25/2019   iDS Cannot Proceed Further                                                        iDS Cannot Proceed Further - Email address for account not provided
 TBD     Vanguard America               Email                              protonmail                              iDS Cannot Proceed Further                                                        iDS Cannot Proceed Further - Password Not Provided
 TBD     Vanguard America               Email                                Tutanota                  2/25/2019   iDS Cannot Proceed Further                                                        iDS Cannot Proceed Further - Credentials appear to be incorrect
                                                                                                                                                                                                                                                                                                               2,458,728         1,096,569




                                                                                                                                                                          Page 5 of 9
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                                    15481

Collection Status



Account Reported Deleted; Email Account & Password Not Provided

Account Reported Deleted; Password Not Provided


Account Reported Disabled; Credentials Provided; Defendant provided archive of account

Account Reported Disabled; Defendant does not remember credentials

Account Reported Disabled; Defendant does not remember password


Account Reported Disabled; Email Account & Password Not Provided


Account Reported Disabled; iDS conducted search and confirmed account disabled

Account Reported Disabled; Password Not Provided

Account Reported Disabled; Password Not Provided; iDS attempted search and could not
locate profile for defendant


Account Reported Disabled; Platform did not recognize credentials provided

Account Reported Disabled; Username & Password Not Provded; iDS attempted search
and could not locate profile for defendant.

Account Reported Disabled; Username & Password Not Provided
Collection Completed

Coordinate collection with Defendant due to 2FA
In Progress
Pending Collection


Preparing documents for counsel review

Preparing documents to be searched


Ready for counsel's review
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                                    15482




Search term report provided to counsel on 06/01/20
Waiting on Defendant to Ship Device(s)
Preparing documents for processing
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                                    15483

Definition

Defendant listed that the account in question has been deleted and iDS was
not provided the email account or password needed for account
Defendant listed that the account in question has been deleted and iDS only
has the account username and not the password
Defendant listed that the account in question has been disabled and
provided the login credentials for the account as well as an archive of the
account.
Defendant listed that the account in question has been disabled and
Defendant reported that he did not remember the credentials
Defendant listed that the account in question has been disabled and
Defendant reported that he did not remember the password

Defendant listed that the account in question has been disabled and iDS was
not provided the email account or password needed for account
Defendant listed that the account in question has been disabled and
provided the login credentials for the account. iDS attempted collection and
confirmed that the account has been disabled.
Defendant listed that the account in question has been disabled and iDS only
has the account username and not the password
Defendant listed that the account in question has been disabled and iDS only
has the account username and not the password. iDS attempted public
search and could not locate account
Defendant listed that the account in question has been disabled and
provided the login credentials for the account. iDS attempted collection and
confirmed that the account has been disabled.
Defendant listed that the account in question has been disabled and iDS was
not provided the username or password needed for account. iDS attempted
public search and could not locate account
Defendant listed that the account in question has been disabled and iDS was
not provided the username or password for account
Collection has been completed.
Due to two factor authentication, iDS needs to coordinate a quick call with
Defendant to obtain required information at time of collection
Collection in progress
In queue for collection
Account has been collected, processed, searched, search report sent to
counsel and approved, and now iDS is preparing documents for counsel
review
iDS has performed the collection and the data is being prepared for search
terms to be run against it
Account has been collected, processed, searched, search report sent to
counsel and approved, and iDS has conducted training with counsel on using
review platform
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                                    15484

Account has been collected, processed, searched, search report sent to
counsel and approved, and now iDS is waiting to hear from counsel if search
terms are approved
iDS is waiting to receive the device(s)
Data has been collected and is being staged for processing
